     Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 1 of 7 PageID #:1
          [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




                                      TJNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                                                                                            n,ECETVED
                                                                                                                        JAN    2s zus   0
                                                                                                             cLEJ[oLISBE,'#8I8Bu*'




(Enter above the fullname
of the plaintiff or plaintiffs in
this action)
                                                               1:18-cv{0677
                                                               Judge Andrea R. Wood
                                                               Magistrate Judge Sidney l. Schenkier
                                                                PC5




(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

    ,r/               C0MPLAINT UNDERTHE CML RIGHTS ACT, TITLE                                               42   SECTION 1983
                      U.S. Code (state, county, or municipal defendants)

                      CoMPLAINT UNDER TIrE CONSTITUTION ("BIVENS" ACTION), TITLE
                      28 SECTION 1331 U.S. Code (federal defendants)

                      OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRACTIONS FOR
FILING." FOLLOW THESE INSTRACTIONS CAREFULLY.




               ilf you need additional space for ANY section, please attach an additional sheet and reference that section.l
      Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 2 of 7 PageID #:2
         Ifyou need additional space for ANY sectlon, please attach an additional sheet and reference that section.]



I.     Plaintiff(s):

       A.          Name:

        B.          List all aliases:

        C.          Prisoner identification        number:           Rnb, l+ q
        D.          Place of present confinement:

        E.          Address:

        (If there is more than one plaintiff, then each plaintiff must iist his or her name, aliases, I.D.
        number, place of confinement, and current address according to the above format on a
        separate sheet of paper.)

II.     Defendant(s):
        (In A below, place the full name of the first defendant in the fust blank, his or her official
        position in the second blank, and his or her place of employment in the third blank. Space
        for two additional defendants is provided in B and C.)
                                      -T-ho                      \
        A.          Defendant:                    rna,g {)a r,r
                    Title:

                    Place of    Employment:            COd k-          Couil                      a
        B.          Defendant:

                    Title:

                    Place of Employment:

        C.          Defendant:

                    Title:

                    Place of Employment:

        (If you have more than three defendants,                      then all additional defendants must be listed
        according to the above format on a separate sheet of paper.)




                                                                                                                        Revised 9/2007




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              !f   you need additional space for ANY section, please attach an additional sheet and reference that section.l




III.     List ALL lawsuits you (and your co-plaintiffso if any) have filed in any state or federal
         court in the United States:

         A.             Name     of        and
                                             _L
                           t.J                                       '\v
         B.             Approximate date of frling lawsuit:                                                                                 9t/o
         C.             List all plaintiffs (if you had co-plaintiffs), including arry aliases:




         D.             List all defendants:




                        Court in which the lawsuit wasJiled (if federal court, name the district; if state court,
                        name the      county): (taat- CouN                  ct


         F.             Name ofjudge to whom case was assigned:


         G.             Basic claim ,rrua"'        .L,nt         V-A..,g r\b)Cir-



                        Disposition of this case (for example:, Was the case dismissed? Was it appealed?
                        Is iistill pending?): |'fJrrE SPfllfd




         I.



IF YOU IIAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING TIIIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                           Revised 9/2007




              [lfyou need additional space forANY section, please attach an additional sheet and reference that section.]
       Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 4 of 7 PageID #:4
           [fyou need additional space forANY section, please attach an additional sheet and reference that      section.]




IV.      Statement of Claim:

          State here as briefly as possible the facts of your case. Describe how each defendant is
          involved, including narnes, dates, andplaces. Do not give any legal arguments or cite any
          cases or statutes. If you intend to allege a number of related claims. number and set forth
          each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
          if necessary.)




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   Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 5 of 7 PageID #:5
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      Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 6 of 7 PageID #:6
         [fyou need additional   space forANY section, please attach an additional sheet and reference that section.]




        Relief:

        State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
        no cases or statutes.




VI.     The plaintiff demands that the case be tried by                      jury. tr YES                        NO
                                                                         a
                                                                                          F
                                                                         CERTIFICATION

                                       By signing this Complaint, I certify that the facts stated in this
                                       Complaint are true to the best of my knowledge, information and
                                       belief. I understand that if this certification is not correct, I may be
                                       subject to sanctions by the Court.

                                        Signedthis 5!'                 dayof      -l)4C. ,20 11



                                                          plaintiff or pla




                                           R?{,        /+1
                                        (I.D. Number)



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                                        (Address)




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          Case: 1:18-cv-00677 Document #: 1 Filed: 01/29/18 Page 7 of 7 PageID #:7




J        Plalntiff/Petitioner   J
                 Vs.                                                                No.
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                            3btrcr       iftr
                         )>ar l'
         Defendant/Respondent


                          NOTICE OF FILING                            /   PROOF OF SERVICE

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                                                         , I placed the attached or
enclosed documents iI the institutionaL mail at Logal Correctional Center properly
addressed to the parties listed above for mailing through the United States Postal
Service.


DATED:         i2 I '5               t        tl'1"7r--




                                                                              IDOC #:
                                                                                     Logan Correctional Center
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